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                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY




           CHAMBERS OF                                              MARTIN LUTHER KING U.S.
       JAMES B. CLARK III                                           COURT HOUSE BUILDING
  UNITED STATES MAGISTRATE JUDGE
                                                                        50 WALNUT ST
                                                                       NEWARK, NJ 07102
                                                                          973-776-7700



                         LETTER ORDER PURSUANT TO RULE 16.1

        CASE NAME: AXSOME MALTA LTD. et al v. ALKEM LABORATORIES LTD. et
               al
        Civil Action No.: 23-20354 (MCA)

 Dear Counsel:

         A scheduling conference shall be conducted telephonically before the undersigned at
 11:30 AM on            January 18, 2024. See Fed. R. Civ. P. 16.1 and L. Civ. R. 16.1(a).
 Prior to the call, Plaintiff is directed to provide dial-in information for the Court via e-mail
 (JBC_orders@njd.uscourts.gov) and for opposing counsel.

        Counsel are advised that the initial disclosures of Fed. R. Civ. P. 26 will be enforced.
 Therefore, counsel shall immediately review that rule and comply with either the time of objection
 process set forth in subdivision (1) (c)of Rule 26:

        At least fourteen (14) days prior to the conference scheduled herein, counsel shall
 personally meet and confer pursuant to Fed. R. Civ. P. 26(f), and shall submit a joint discovery
 plan to the undersigned not later than seven days prior to the conference with the Court.
 The joint discovery plan shall include (1) a brief summary of the claims and defenses; and (2) a
 proposed schedule for completing fact and expert discovery. The joint discovery plan may
 include a summary of the status of settlement negotiations. (THE DISCOVERY PLAN SHALL
 BE IN THE FORM ATTACHED AND SHALL BE SUBMITTED JOINTLY.) Counsel shall
 submit the joint discovery plan by email (JBC_Orders@njd.uscourts.gov). The joint discovery
 plan should not be submitted electronically.

         At the conference, the Court will address scheduling of all motions. No motions
 excepting those required by the Federal Rules of Civil Procedure as, for example, listed in Rule
 12 (b), shall be filed without prior leave of Court. If any motions have already been filed, please
 advise the Court immediately, in writing, regarding the nature of the motion and its present status.
 Pursuant to my Standing Procedures found in Appendix 2 of Lite’s New Jersey Federal Practice
 Rules, you may submit unopposed applications for pro hac vice admission with my Chambers.
 Please obtain consent of your adversary prior to filing your application, advising both in your
 cover letter and proposed Order that you have consent.

         At the conference, all parties who are not appearing pro se must be represented by
 counsel who shall have full authority to bind their clients in all pre-trial matters. Counsel
 shall also be prepared to discuss the merits of the case and have settlement authority. Clients or
 persons with authority over the matter shall be available by telephone. See L.Civ.R. 16.1(a).
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        Counsel for plaintiff(s) shall notify any party, who hereafter enters an appearance, of the
 above conference, and forward to that party a copy of this Order.

         The parties must advise this Court immediately if this action has been settled or terminated
 so that the above conference may be canceled.

        Failure to comply with the terms herein may result in the imposition of sanctions.

        SO ORDERED this 28th                   day of November, 2023.




                                                          s/James B. Clark, III
                                               JAMES B. CLARK, III
                                               UNITED STATES MAGISTRATE JUDGE
 Orig: Clerk
 cc:   Courtroom Deputy
       File
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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY



                                          :   Civil Action No.

                          Plaintiff(s).   :   Hon.

                          v.              :   JOINT DISCOVERY PLAN

                          Defendant(s). :


 1.    Set forth a factual description of the case. Include the causes of action and affirmative
       defenses asserted.

 2.    Have settlement discussions taken place? Yes __________ No __________

       If so, when?
 ____________________________________________________________

       (a)    What was plaintiff’s last demand?

                    (1)      Monetary demand: $ ___________
              (2)         Non-monetary demand: __________

       (b)      What was defendant’s last offer?

              (1)          Monetary offer: $ ___________
              (2)          Non-monetary offer: __________

 3.    The parties [have ______ -have not ______] exchanged the information required by
       Fed. R. Civ. P. 26(a)(1). If not, state the reason therefor.

 4.    Describe any discovery conducted other than the above disclosures.

 5.    Generally, dispositive Motions cannot be filed until the completion of discovery.
       Describe any Motions any party may seek to make prior to the completion of
       discovery. Include any jurisdictional Motions and Motions to Amend.

 6.    The parties proposed the following:

       (a)   Discovery is needed on the following subjects:

       (b)    Should discovery be conducted in phases? If so, explain.
       (c)     Number of Interrogatories by each party to each other party: ________

       (d)     Number of Depositions to be taken by each party: ___________
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        (e)     Plaintiff’s expert report due on _______________.

        (f)    Defendant’s expert report due on ______________.

        (g)     Motions to Amend or to Add Parties to be filed by _______________.

        (h)     Dispositive motions to be served within ______days of completion of
 discovery.

        (i)    Factual discovery to be completed by                .

        (j)    Expert discovery to be completed by ____________.

        (k)     Set forth any special discovery mechanism or procedure requested, including
 data                        preservation orders or protective orders:

        (l)    A pretrial conference may take place on
 .

        (m)   Trial by jury or non-jury Trial?

        (n)    Trial date: ______________________.

 7.     Do you anticipate any discovery problem(s)? Yes __________ No __________
              If so, explain.

 8.     Do you anticipate any special discovery needs (i.e., videotape/telephone depositions,
        problems with out-of state witnesses or documents, etc.)? Yes ________ No _______
               If so, explain.

 9.     State whether this case is appropriate for voluntary arbitration (pursuant to L. Civ. R.
        201.1 or otherwise), mediation (pursuant to L. Civ. R. 301.1 or otherwise),
        appointment of a special master or other special procedure. If not, explain why and
        state whether any such procedure may be appropriate at a later time (i.e., after
        exchange of pretrial disclosures, after completion of depositions, after disposition of
        dispositive motions, etc.).
 10.    Is this case appropriate for bifurcation? Yes __________ No __________

 11.    We [do _____ do not                  ] consent to the trial being conducted by a
        Magistrate Judge.


                                              Attorney(s) for Plaintiff(s)




                                                      Attorney(s) for Defendant(s)
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                          ALTERNATIVE DISPUTE RESOLUTION
                                        IN THE
                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


                 Mediation is the Alternative Dispute Resolution ( “ADR”) program in this Court.
 Mediation is governed by Local Civil Rule 301.1. The mediation program under this rule is
 supervised by a judicial officer (at present United States District Judge Madeline Cox Arleo) who
 is available to answer any questions about the program.

                 Any district judge or magistrate judge may refer a civil action to mediation. This
 may be done without the consent of the parties. However, the Court encourages parties to confer
 among themselves and consent to mediation. Moreover, you are reminded that, when counsel
 confer pursuant to Rule 26(f) of the Federal Rules of Civil Procedure and Local Civil Rule 26.1,
 one of the topics that must be addressed is the eligibility of a civil action for participation in ADR.

                 A civil action may be referred to mediation at any time. However, one of the
 advantages of mediation is that, if successful, it enables parties to avoid the time and expense of
 discovery and trial. Accordingly, the Court encourages parties to consent to mediation prior to or
 at the time that automatic disclosures are made pursuant to Rule 26(a)(1) of the Federal Rules of
 Civil Procedure.

                 If parties consent to mediation, they may choose a mediator either from the list of
 certified mediators maintained by the Court or by the selection of a private mediator. If a civil
 action is referred to mediation without consent of the parties, the judicial officer responsible for
 supervision of the program will select the mediator.

                Mediation is non-judgmental. The role of the mediator is to assist the parties in
 reaching a resolution of their dispute. The parties may confer with the mediator on an ex parte
 basis. Anything said to the mediator will be deemed to be confidential and will not be revealed
 to another party or to others without the party’s consent.

                 If you would like further information with regard to the mediation program please
 review the Guidelines for Mediation, which are available on the Court’s Web Site
 “pacer.njd.uscourts.gov” and appear as Appendix Q to the Local Civil Rules. You may also make
 inquiries of the judicial officer responsible for supervision of the program.

                Civil actions in which there are pro se parties (incarcerated or not) are not
 eligible for mediation.
